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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                         ) Chapter 11
                                               )
W.R. GRACE & CO., et al.,                      ) Case No. 01-01139 (JKF)
                                               )
                 Debtors.                      ) Jointly Administered
                                               )
                                               )

                               CERTIFICATE OF SERVICE

            I, Kathleen Campbell Davis, of Campbell & Levine, LLC, hereby certify that on

May 29, 2007 I caused a copy of the foregoing Certification of No Objection to be

served upon: (i) the Notice Parties, (ii) the Fee Auditor, (iii) the Office of the United

States Trustee, and (iv) the Debtor (attn: David B. Siegel) via first class U. S. Mail.




                                                      /s/Kathleen Campbell Davis
                                                      Kathleen Campbell Davis

Dated: May 29, 2007




{D0026472.1 }
